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2                              UNITED STATES DISTRICT COURT

3                             EASTERN DISTRICT OF CALIFORNIA

4

5    UNITED STATES OF AMERICA,                     No. 2:14-cr-0083-GEB
6                     Plaintiff,
7         v.                                       ORDER DENYING SEALING REQUEST
8    RUSLAN KIRILYUK,
9                     Defendant.
10

11               On November 26, 2019 Defendant Ruslan Kirilyuk filed a

12   notice on the public docket in which he states he “provides

13   notice that he is requesting to file under seal: “(1) An18 page

14   document, a 66 page document, a 5 page document and a 6 page

15   document    and    (2)     a    Request     to      Seal   Documents.”         Defendant’s

16   Notice,    ECF    383.    On     November         26,   2019    Kirilyuk       emailed    the

17   following documents to chambers for consideration of his sealing

18   request:     Defendant’s         Formal     Objections          to    PSI   (a     document

19   containing       eighteen      pages),    a        three-page        Federal     Bureau   of

20   Investigation       302        record,    a        six-page      Federal        Bureau     of

21   Investigation 302 record, and a Federal Bureau of Investigation

22   document containing approximately sixty-five pages of a verbatim

23   translation.

24               Kirilyuk has not shown that his sealing request should

25   be granted. Further, Kirilyuk failed to adequately inform the

26   public    about    the     documents      involved         in   his     sealing     notice.

27   Kirilyuk also failed to demonstrate that the extent of sealing he

28   seeks is justified. c.f. United States v. Kaczynski, 154 F.3d
                                                   1
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1    930, 931 (9th Cir. 1998) (affirming decision providing the movant

2    intervenors-appellees              a      redacted          version      of         defendant’s

3    psychiatric       competency           report    under      the   common-law          right    of

4    access doctrine).

5                  The Ninth Circuit has held that “the First Amendment

6    right of access applies to sentencing proceedings.” United States

7    v. Rivera, 682 F.3d 1223, 1229 (9th Cir.2012). Kirilyuk has not

8    shown that this right of access should not “extend[] to materials

9    submitted to the Court in connection with sentencing that the

10   Court is asked to consider.” United States v. King, 2012 WL

11   2196674, at *1 (S.D.N.Y. 2012) (citations omitted); United States

12   v.   Dare,      568   F.Supp.2d        242,     244    (N.D.N.Y.2008)         (stating       “the

13   public has a strong right to sentencing memoranda under the First

14   Amendment”).

15                 Since Kirilyuk has not shown that his sealing request

16   should     be     granted,        it    is    denied.       Therefore,        the     documents

17   Kirilyuk        submitted     for       sealing       are    treated     as    having        been

18   returned to Kirilyuk so that he can decide how to proceed. See

19   Local Rule 141(e)(1) (“If a Request [for a sealing order] is

20   denied   in      full    or   in       part,     the    Clerk     will    return        to    the
21   submitting       party      the     documents         for    which     sealing       has     been

22   denied”).

23                 Dated:     November 27, 2019

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